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                   UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF WEST VIRGINIA
Cheryl Dean Riley          OFFICE OF THE CLERK OF COURT          Michelle Widmer-Eby
Clerk of Court                  POST OFFICE BOX 471                Chief Deputy Clerk
                           WHEELING, WEST VIRGINIA 26003
                                   (304) 232-0011
                               Facsimile (304) 233-2185


                             September 29, 2021

Via CM/ECF
Surendra D. Singh
c/o Robert C. Stone , Jr.
Robert C. Stone Jr., PLLC
529 West King Street
Martinsburg, WV 25401

Via CM/ECF
Dilipkumar Somabhai Patel
c/o Paul G. Taylor
Law Offices of Paul G. Taylor
134 W Burke Street
Martinsburg, WV 25401

Via CM/ECF
Suresh Patel
c/o Bridget M. Cohee
Steptoe & Johnson, PLLC - Martinsburg
1250 Edwin Miller Boulevard
Suite 300
Martinsburg, WV 25404
and
Dale P. Kelberman
Miles & Stockbridge, PC
10 Light St
Baltimore, MD 21202
and



500 West Pike Street, Room 301         P.O. Box 1518    217 W. King Street, Room 102
Clarksburg, WV 26302                 Elkins, WV 26241         Martinsburg, WV 25401
(304) 622-8513                        (304) 636-1445                  (304) 267-8225
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William D. Wilmoth
Steptoe & Johnson, PLLC - Wheeling
PO Box 751
Wheeling, WV 26003-0751

Via CM/ECF
Jalaram, Inc.
c/o Bridget M. Cohee
Steptoe & Johnson, PLLC - Martinsburg
1250 Edwin Miller Boulevard
Suite 300
Martinsburg, WV 25404
and
Dale P. Kelberman
Miles & Stockbridge, PC
10 Light St
Baltimore, MD 21202
and
William D. Wilmoth
Steptoe & Johnson, PLLC - Wheeling
PO Box 751
Wheeling, WV 26003-0751
and
Donald E. English , Jr.
Miles & Stockbridge, PC - Baltimore
100 Light Street
8th Floor
Baltimore, MD 21202

Via CM/ECF
Centra Bank, Inc. (Interested Party)
William J. Powell
Jackson Kelly, PLLC - Martinsburg
PO Box 1068
Martinsburg, WV 25401

Via CM/ECF
BB&T (Interested Party)
c/o Kathy M. Santa Barbara

500 West Pike Street, Room 301           P.O. Box 1518    217 W. King Street, Room 102
Clarksburg, WV 26302                   Elkins, WV 26241         Martinsburg, WV 25401
(304) 622-8513                          (304) 636-1445                  (304) 267-8225
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The Law Office of Kathy M. Santa Barbara, PLLC
518 West Stephen Street
Martinsburg, WV 25401

Via CM/ECF
c/o    John W Sellers
U.S. Dept. of Justice - Criminal Division
Asset Forfeiture & Money Laundering Section
1400 New York Ave., NW
Bond Bldg., 10th Floor
Washington, DC 20530
and
Randolph J. Bernard
Michael D. Stein
U.S. Attorney's Office - Wheeling
PO Box 591
1125 Chapline Street, Ste. 3000
Wheeling, WV 26003

       In Re: United States of America v. Surendra D. Singh, et al.
              Criminal Action No. 3:05-cr-6

Dear Mr. Singh, Mr. Dilipkumar Patel, Mr. Suresh Patel, Jalaram, Inc., Centra Bank, Inc.,
BB&T, and the United States of America,

       I have been contacted by Chief Judge, Gina M. Groh, who presided over the above-
mentioned case. Judge Groh informed me that it has been brought to her attention that
while she presided over the case, her husband owned stock in Centra Bank. Her
husband’s ownership of stock neither affected nor impacted her decisions in this case,
which was primarily handled by two other district judges, with no substantive orders
issued by Judge Groh. However, her husband’s stock ownership would have required
recusal under the Code of Conduct for United States Judges, and thus, Judge Groh
directed that I notify the parties of the conflict.

       Advisory Opinion 71, from the Judicial Conference Codes of Conduct
       Committee, provides the following guidance for addressing
       disqualification that is not discovered until after a judge has participated
       in a case:


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               [A]judge should disclose to the parties the facts bearing on
       disqualification as soon as those facts are learned, even though that may
       occur after entry of the decision. The parties may then determine what
       relief they may seek and a court (without the disqualified judge) will
       decide the legal consequence, if any, arising from the participation of
       the disqualified judge in the entered decision.

       Although Advisory Opinion 71 contemplated disqualification after a Court of
Appeals oral argument, the Committee explained “[s]imilar considerations would apply
when a judgment was entered in a district court by a judge and it is later learned that the
judge was disqualified.” With Advisory Opinion 71 in mind, you are invited to respond
to Judge Groh’s disclosure of a conflict in this case. Should you wish to respond, please
submit your response in writing by filing it on the docket of this case on or before October
13, 2021. Any response will be considered by another judge of this court without the
participation of Judge Groh.

                             Sincerely,



                             Cheryl Dean Riley,
                             Clerk of Court




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(304) 622-8513                         (304) 636-1445                          (304) 267-8225
